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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:06CR284
                              )
          v.                  )
                              )
ROBERT J. LANDWEJR, SUSAN R. )                        ORDER
LANDWEHR, JACK W. DUKE, JR., )
and JOY L. DUKE,              )
                              )
               Defendants.    )
______________________________)


           This matter is before the Court on defendant Robert

Landwehr’s motion to continue trial (Filing No. 30).               The

defendant has filed a written waiver of speedy trial.               The Court

notes the other defendants and counsel for plaintiff have no

objection.   Accordingly,

           IT IS ORDERED that defendant Robert Landwehr’s motion

to continue trial is granted; trial is rescheduled for:

                 Monday, January 8, 2007, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.   The health of this defendant and the voluminous records

that need to be reviewed in preparation for trial or plea

negotiations require continuation of the trial.               Therefore, the

ends of justice will be served by continuing this case and

outweigh the interests of the public and the defendant in a

speedy trial.    The additional time between October 30, 2006, and

January 8, 2007, shall be deemed excludable time in any
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computation of time under the requirement of the Speedy Trial

Act.   18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 24th day of October, 2004.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
